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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
                                                    )
                        v.                          ) Case No. 1:22-cr-40-JEB
                                                    )
                                                    )
 SANDRA WEYER,                                      )
                                                    )
          Defendant.                                )
                                                    )

             SANDRA WEYER’S MOTION FOR RELEASE PENDING APPEAL

          Weyer respectfully moves the Court for release pending appeal, pursuant to 18 U.S.C. §§

 3141(b) and 3143(b) and Fed. R. Crim. P. 46(c) & 38(b)(1). Weyer satisfies the criteria for

 release, as she poses no flight or safety risk, her appeal is not for the purpose of delay, and she

 raises a substantial question of law which, if decided in her favor, would likely result in a reduced

 imprisonment sentence that would expire before her appeal concludes. In particular, a substantial

 question exists as to whether the statute underlying Weyer’s sole felony conviction, 18 U.S.C. §

 1512(c)(2), applies to her conduct on January 6, 2021, in light of the Supreme Court’s recent

 decision to grant certiorari in United States v. Fischer, No. 23-5572, 2023 WL 8605748 (Dec. 13,

 2023).

 Background

       A. Trial and sentencing

       On June 5, 2023, the Court conducted a two-day bench trial. As the Court will recall,

Weyer traveled to Washington, D.C., on January 6 to attend the former president’s political rally.

After making her way to the Capitol amidst a large crowd, she observed protesters pulling down

barricades positioned at the east front of the building. Weyer encouraged protesters to “hold your
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ground” and “don’t retreat.” Weyer subsequently entered the Capitol through the East Rotunda

door and remained in the building for approximately 11 minutes. Most of that time she spent

searching for her brother with whom she had lost contact in the tumult.

       Weyer was found guilty of the following charges: Obstruction of an Official Proceeding and

Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2) and 2 (Count One); Entering and

Remaining in a Restricted Building or Grounds, in violation of 18 U.S.C. § 1752(a)(1) (Count

Two); Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(2) (Count Three); Disorderly Conduct in a Capitol Building, in violation of 40

U.S.C. § 5104(e)(2)(D) (Count Four); and Parading, Demonstrating, or Picketing in a Capitol

Building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Five).

        On September 14, 2023, the Court sentenced Weyer. As the most serious offense,

 Weyer’s § 1512(c)(2) conviction determined that the controlling Guideline would be U.S.S.G.

 §2J1.2 (“Obstruction of Justice”), with a base offense level of 14. The Court applied the specific

 offense characteristic at §2J1.2(b)(2) for substantial interference with “the administration of

 justice.” It also gave Weyer credit for satisfying the criteria for a two-level Zero Point Offender

 downward adjustment, §4C1.1, though that section was not effective at the time of sentencing.

 The Court sentenced Weyer to 14 months’ incarceration on the § 1512(c)(2) conviction.

        In turn, the Court’s determination meant that, under the Guidelines, the Court was directed

 to impose the “total punishment” of 14 months’ incarceration on every remaining count of

 conviction, to the extent permitted by applicable statutory maxima. U.S.S.G. § 5G1.2(b). For that

 reason, the Court imposed concurrent sentences of 12 months’ incarceration on Counts Two and

 Three and of six months’ incarceration on Counts Four and Five, the statutory maxima for all

 those misdemeanor counts.

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        Based on its review of the letters submitted on Weyer’s behalf, the Court remarked at

 sentencing that the 60-year-old mother was a valuable member of her community who, among

 other things, had helped businesses survive the pandemic-era lockdowns. Weyer filed a notice of

 appeal on September 28, 2023. ECF 65.

       B. Weyer’s companions were all given misdemeanor pleas and incarceration
          sentences measured in days

       On January 6, Weyer was accompanied every step of the way by two acquaintances, Lynn

 Nester and Brian Korte. They were charged separately. United States v. Korte, et al., 22-cr-183-

 TSC. The group traveled from Pennsylvania to D.C. that day. Nester and Korte stood with

 Weyer as the barricades outside the east front came down:




Korte, 22-cr-183-TSC, ECF 83, p. 4.

       Nester and Korte stood with Weyer at the Rotunda door, during a confrontation between

protesters and law enforcement officers:



[Image on following page]

                                                                                                    3
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Korte, 22-cr-183-TSC, ECF 83, p. 7.

        “Korte encouraged members of the Oath Keepers militia to enter before him and then

followed them inside,” according to the government. Korte, 22-cr-183-TSC, ECF 83, p. 13. Korte

and Nester entered and exited the building together with Weyer. Id., p. 10.

        Yet Weyer was charged under § 1512(c)(2), while her constant companions Nester and

Korte were charged solely with Class B misdemeanors. Unlike Nester and Korte, Weyer did not

receive a misdemeanor plea offer from the government. Critically, she was thus forced to choose

between pleading guilty to the offense which the Supreme Court is now reviewing in Fischer or

proceeding to trial.

        In Korte’s case, the government requested a sentence of 30 days’ incarceration—in contrast

to the 30 months’ incarceration it requested for Weyer. Korte, 22-cr-183-TSC, ECF 83, p. 10. The

Court imposed a sentence of 21 days’ incarceration for Korte. Id., 7/12/2023 Minute Entry.

        C. Weyer’s confinement at FDC Philadelphia

        Weyer surrendered to the BOP on November 15, 2023. Although the Court had

recommended that Weyer be assigned to Danbury FCI—a minimum security facility for women—

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she was, in the event, sent to FDC Philadelphia. Weyer has thus served approximately 45 days of

incarceration as of the date of this filing.

        Weyer’s conditions of confinement have been distressing. The section of the facility to

which she has been assigned is experiencing a rodent infestation. Regularly Weyer finds mice and

insects in her bedding. Maggots and weevils are a common sight in the food hall. As for

nourishment, Weyer’s diet has consisted entirely of salad and fruit when it is available in the food

hall and crackers from the commissary. When she was last heard from on Friday, December 22,

she had not eaten in 40 hours; for the first 40 hours after her arrival, she was not provided with

basic necessities. Those who have seen her recently have commented that Weyer’s eyes have taken

on a sunken appearance.

        The sole article of footwear provided to her were shower slippers; because all floors are

concrete, she has developed blisters on her feet. As the temperature is kept at approximately 52

degrees at all times, Weyer has had to secure extra clothing from the commissary. It was stolen

within two days. The 60-year-old woman is thus regularly cold and hungry. She suffers migraines

but cannot gain access to her regular medication in the prison. As a result, her headaches have

lasted for days.

        A prison counselor has advised Weyer that her BOP recidivism risk assessment calculation

generates the lowest numbers the counselor had ever seen:

        Recidivism Risk Assessment (Pattern 01.03.00)
         Risk level inmate....R-MIN
         General Level......R-MIN (-9)
         Violent Level.......R-MIN (-4)

Argument

I.      Standard for release pending appeal
         A court “shall order the release” of an individual pending appeal if it finds:

                                                                                                       5
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       (A) by clear and convincing evidence that the person is not likely to flee or pose a
           danger to the safety of any other person or the community if released . . . ; and

       (B) that the appeal is not for the purpose of delay and raises a substantial question
           of law or fact likely to result in –

              (i)     reversal,
              (ii)    an order for a new trial,
              (iii)   a sentence that does not include a term of imprisonment, or
              (iv)    a reduced sentence to a term of imprisonment less than the total of the time
                      already served plus the expected duration of the appeal process.

18 U.S.C. § 3143(b)(1); see also United States v. Perholtz, 836 F.2d 554, 557 (D.C. Cir.

1987). “[I]n in the circumstance described in subparagraph (B)(iv) . . . the judicial officer

shall order the detention terminated at the expiration of the likely reduced sentence.” §

3143(b)(1).

       Weyer satisfies all these criteria for release.

II.    Weyer poses no flight or safety risk

       Weyer’s conduct since the inception of this case has demonstrated by clear and

convincing evidence that she will not flee and is not a safety risk. From June 24, 2021 until

the day she reported to prison, Weyer was released on conditions and a personal

recognizance bond. Thus, for over two years, Weyer fully demonstrated her compliance with

all pretrial release conditions. Indeed, the government did not even seek pretrial detention in

Weyer’s case. Moreover, the 60-year-old mother was not accused of violence and has no

criminal history.

III.   Weyer’s appeal raises a substantial question and is therefore not for the purpose
       of delay

        A “substantial question” within the meaning of § 3143(b) is “‘a close question or one

that very well could be decided the other way.’” Perholtz, 836 F.2d at 555 (quoting United

States v. Bayko, 774 F.2d 516, 523 (1st Cir. 1985)). This standard does not require the Court to

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find that Weyer’s appeal establishes a likelihood of reversal. See Bayko, 774 F.2d at 522-23.

Rather, the Court must “evaluate the difficulty of the question” on appeal, and grant release

pending appeal if it determines that the question is a close one or one that “‘very well could be’”

decided in the defendant’s favor. United States v. Shoffner, 791 F.2d 586, 589 (7th Cir. 1986)

(quoting United States v. Giancola, 754 F.2d 898, 901 (11th Cir.1985)).

         Here, both the Court and the government have acknowledged, directly and indirectly,

that the § 1512(c)(2) challenge posed by Weyer presents a substantial question, particularly in

light of the certiorari grant in Fischer. For example, in the Court of Appeals, the government

has explicitly stated that Weyer’s is a substantial question under § 3143(b). See United States v.

John Strand, 23-3083 (D.C. Cir.), Doc. #2032976, at 8 (“The government does not dispute that,

given that the Supreme Court has granted a petition for a writ of certiorari in Fischer, [an]

appeal of [a] conviction under 18 U.S.C. § 1512 poses a substantial question within the

meaning of 18 U.S.C. § 3143(b)(1)(B).”). In addition, this Court recently stayed a Capitol riot

defendant’s sentencing where his sole felony conviction was under § 1512(c). United States v.

Zink, 21-cr-191-JEB, 12/28/2023 Minute Order.

       It must be emphasized that, if anything, Weyer’s challenge is stronger than that of a

defendant like the one in Fischer. Unlike Fischer, Weyer was not charged with violent or

assaultive conduct. She entered the Capitol Building where she wandered around for

approximately 11 minutes, searched for her brother, and did not enter the House or Senate

Chamber or congressmember’s offices. No evidence showed Weyer taking any act to obstruct

the joint session beyond the fact of her presence. By the time Weyer entered the Capitol, the

Houses had already recessed. If the defendant in Fischer, who is accused of assault, has

presented a certiorari-worthy question to the Supreme Court—and in the absence of any split



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 of opinion among the Circuits—Weyer’s question here is, a fortiori, substantial under §

 3143(b).

IV.    Resolution of this substantial question in Weyer’s favor would likely
       result in a reduced imprisonment sentence that would expire before the appeal
       concludes

       If decided in Weyer’s favor, her appellate challenge to her Section 1512(c)(2) conviction

 would likely result in a reduced imprisonment sentence that would expire before her appeal

 concludes. § 3143(b)(1)(B)(iv).

       Weyer’s sentence of 14 months’ incarceration is driven entirely by the § 1512(c)

 conviction under review in Fischer. The one-year and six-month sentences imposed by the

 Court on the remaining misdemeanor counts were dictated not by the facts and circumstances

 of Weyer’s case but by the Guidelines rule directing the Court to impose the “total

 punishment” (of 14 months’ incarceration) on every count of conviction to the extent

 allowable by statutory maxima. U.S.S.G. § 5G1.2(b).

       Absent the “total punishment” Guideline, the Court likely would not have imposed

 those sentences on Weyer’s misdemeanor counts. This can be shown in several ways. First,

 Weyer’s co-defendants, who engaged in identical conduct, were not even charged under §

 1512(c) and were given misdemeanor plea offers, unlike Weyer. Korte, 22-cr-183-TSC, ECF

 83. One of them, Korte, has been sentenced—to 21 days’ incarceration. Already, Weyer has

 served over twice that amount of time.

       Significantly, Weyer never had an opportunity to avoid expending judicial resources by

 accepting a misdemeanor plea offer. Instead, she was handed a Sophie’s choice: plead guilty

 to an offense that would ultimately be reviewed by the Supreme Court or go to trial and risk

 punishment for a perceived lack of acceptance of responsibility. However, the Guidelines are



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clear that, in circumstances such as these, a defendant does not manifest a lack of remorse by

exercising their right to trial. U.S.S.G. §3E1.1 cmt. n. 2 (a defendant may still receive

acceptance of responsibility adjustments where he has gone to trial to “challenge [] the

applicability of a statute to his conduct”).

      Second, the Court’s misdemeanor sentences in the Capitol riot cases demonstrate that

Weyer’s sentence almost surely would have been lower had she not been convicted under §

1512(c). The Court (more specifically, the Chief Judge) has sentenced around 28

misdemeanor-only Capitol riot defendants. The average sentence in these cases appears to be

approximately 30 days’ incarceration, with a number of them receiving probationary

sentences. Here are some examples of the conduct involved in cases where sentences were

measured in days:

      •       United States v. Jancart, 21-cr-148-JEB (45 days’ incarceration: brought gas

              mask and two-way radios into Capitol; contemplated bringing a pickaxe; was

              among the first to enter Capitol);

      •       United States v. Rau, 21-cr-467-JEB (45 days’ incarceration: encouraged

              crowd to break into Capitol; shouted to police, “We have you surrounded!”;

              entered Speaker’s conference room; wore tactical gear; escorted out of building

              by police);

      •       United States v. Bennett, 21-cr-227-JEB (no incarceration: chanted “break it

              down” in the Speaker’s lobby; before January 6, said, “you better be ready,

              chaos is coming and . . . I will be fighting for my freedom”);

      •       United States v. Ridge, 21-cr-406-JEB (14 days’ incarceration: defendant

              quoted saying, “Yeah just stormed the US capital [sic] for the first time in US


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        history and I was part of it”; “Yeah man so epic I have a video of me fighting

        riot police in the capital [sic] building”; “we broke down doors of Senator

        McConnell and Nancy Pelosi”);

•       United States v. Hernandez, 21-cr-747-JEB (30 days’ incarceration: defendant

        stole “Keep Off Fence” sign and part of Speaker’s office sign);

•       United States v. Westover, 21-cr-697-JEB (45 days’ incarceration: defendant

        chanted, “We’re coming Nancy”);

•       United States v. Revlett, 21-cr-281-JEB (14 days’ incarceration: defendant

        livestreamed in Capitol; made statements in Rotunda with megaphone; did not

        express remorse at the time of sentencing);

•       United States v. Dropkin, 21-cr-734-JEB (30 days’ incarceration: defendant

        moved around extensively in Capitol until forced out by police);

•       United States v. Valdez, 21-cr-695-JEB (30 days’ incarceration: defendant

        entered the office of Senator Merkley);

•       United States v. Charles Hand, 21-cr-111-JEB (20 days’ incarceration:

        defendant broke fencing, joined in chanting, recorded video);

•       United States v. Mandy Robinson-Hand, 21-cr-111-JEB (20 days’

        incarceration: defendant recorded video inside building; said, “Yes Love! We

        love fighting for our country”);

•       United States v. Ambrose, 21-cr-302-JEB (no incarceration: defendant present

        in Speaker’s lobby);

•       United States v. Valentin, 21-cr-702-JEB (10 days’ intermittent incarceration:

        defendant had to be forced out of Rotunda by police);


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       •       United States v. Zoyganeles, 22-cr-149-JEB (no incarceration: defendant

               entered offices; said, “Just rush Capital [sic] hill”; “we need to take over the

               capital [sic] building tomorrow”);

       •       United States v. Price, 21-cr-719-JEB (45 days’ incarceration: defendant

               climbed through a broken window).

       As explained, Weyer has already served 45 days of prison time—and in squalid

conditions of confinement that the Court could hardly have anticipated. Unlike the defendants

listed above, she is a 60-year-old mother with strong community support and a history of good

deeds. Weyer Sentencing Mem., ECF 55, pp. 2-4; ECF 55-1 (60 pages of supporting letters).

Meanwhile, the mandate in Fischer is likely to be returned no earlier than June 2024, the final

month of the Supreme Court’s current term. Critically, the Circuit will hold Weyer’s appeal in

abeyance until that time, as it has done in every Capitol riot appeal concerning a § 1512(c)

conviction. If the Supreme Court were to reverse the judgment in Fischer in June, the appeal

process would still take additional time in this matter, running months beyond the expiration of

Weyer’s misdemeanor sentences. The current median time interval from the filing of a notice

of appeal to disposition in the D.C. Circuit is 11.3 months. 1

       As the Court knows, under the sentencing-package doctrine, all of Weyer’s

 misdemeanor sentences would be vacated upon the reversal of her felony obstruction

 conviction. “This result rests on the interdependence of the different segments of the sentence,

 such that removal of the sentence on one count draws into question the correctness of the




 1
  U.S. Courts of Appeals––Median Time Intervals in Months for Cases Terminated on the
 Merits, by Circuit, During the 12-Month Period Ending September 30, 2021 (Table B-4),
 available at https://www.uscourts.gov/sites/default/files/data_tables/jb_b4_0930.2021.pdf.

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initial aggregate minus the severed element.” United States v. Smith, 467 F.3d 785, 789 (D.C.

Cir. 2006). Since it is not unlikely that the Court will have to address Weyer’s sentence at

some point in the future, it is more sensible to do so now, at the point when Weyer has served

this Court’s average misdemeanor sentence, rather than six months to a year afterward.

      For all these reasons, a favorable resolution of the substantial question raised by Weyer

is likely to result in a reduced imprisonment sentence that would expire well before her appeal

concludes. Accordingly, Weyer respectfully moves for release pending appeal: relief that is

particularly appropriate given her exceedingly harsh conditions of confinement and

comparable misdemeanor sentences imposed by this Court in related cases.

Dated: December 31, 2023                     Respectfully submitted,

                                             /s/ Nicholas D. Smith
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                                    Certificate of Service
       I hereby certify that on the 31st day of December, 2023, I filed the foregoing submission

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

(NEF) to the following CM/ECF user(s): Counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].

                                             /s/ Nicholas D. Smith




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